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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


VICTORIA CHARITY WHITE,

          Plaintiff,

          v.                                       Civil Action No. 1:22-cv-00027-TSC

ROBERT J. CONTEE III, et al.,

          Defendants.


                                              ORDER

          Upon consideration of Defendants the District of Columbia (the District) and Robert J.

Contee’s Partial Motion to Dismiss Plaintiff’s Complaint, any opposition and reply thereto, and

the entire record, it is hereby

          ORDERED that the District Defendants’ Motion is GRANTED; and it is further

          ORDERED all claims against the Robert J. Contee are dismissed with prejudice; and it is

further

          ORDERED that Plaintiff’s claims against the District of Columbia for violation of

Fourth, Fifth, Fourteenth Amendment and due process rights (Count I); excessive force in

violation of Fourth Amendment (Count II), retaliation in violation of the Fifth Amendment

(Count III), violation of Fifth Amendment (Count IV), deliberately indifferent policies, practices,

customs, training, and supervision in violation of the Fourteenth, and First Amendments and in

Violation of 42 U.S.C. § 1981 (Count V) are dismissed with prejudice; and it is further

          ORDERED that the District is granted summary judgment as to Plaintiff’s common law

claims for Battery (Count VI), Excessive Force (Count VII), Assault (Count VIII), False

Imprisonment (Count IX), False Arrest (Count X), Intentional Infliction of Emotional Distress
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(IIED) (Count XI), and Negligent Infliction of Emotional Distress (NEID) (Count XII)

       SO ORDERED.


                                           TANYA S. CHUTKAN
                                           United States District Judge




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